                                         UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF NEW YORK


             FULL CIRCLE UNITED, LLC,                     CASE NO. 1:20-CV-03395

                     Plaintiff,
             v.

             BAY TEK ENTERTAINMENT, INC.,

                     Defendant.




             BAY TEK ENTERTAINMENT, INC.,

                     Counterclaim Plaintiff,
             v.

             FULL CIRCLE UNITED, LLC,

                     Counterclaim Defendant,

             and

             ERIC PAVONY,

                     Additional Counterclaim Defendant.



                  FULL CIRCLE’S EXHIBITS TO WHICH BAY TEK ENTERTAINMENT OBJECTS
                   SOLELY IN CONNECTION WITH ITS FORTHCOMING MOTION IN LIMINE
                     REGARDING DOCUMENTS RELATED TO THE SEPT. 23, 2024 ORDER




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